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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             November 2021 Grand Jury

11   UNITED STATES OF AMERICA,                ('CR 22-0040(A)-JGB

12             Plaintiff,                     F I R S T
                                              SUPER S E D I N G
13             v.                             INDICTMENT

14   MATTHEW EDWARD CHEN,                     [18 U.S.C. § 922(o)(1):
       aka “Dolphin,”                         Transfer and Possession of
15                                            Machineguns; 26 U.S.C. §5861(d):
               Defendant.                     Possession of Unregistered
16                                            Firearms; 26 U.S.C. §5861(i):
                                              Possession of FirearmsNot
17                                            Identified by Serial Number]
18

19        The Grand Jury charges:
20                                      COUNT ONE
21                              [18 U.S.C. § 922(o)(1)]
22        On or about January 20, 2022, in Los Angeles County, within the
23   Central District of California, defendant MATTHEW EDWARD CHEN, also
24   known as “Dolphin,” knowingly transferred a machinegun as defined in
25   Title 18, United States Code, Section 921(a)(23), and Title 26,
26   United States Code, Section 5845(b), namely a Glock auto sear.
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 1                                      COUNT TWO

 2                              [18 U.S.C. § 922(o)(1)]

 3        On or about January 28, 2022, in Los Angeles County, within the

 4   Central District of California, defendant MATTHEW EDWARD CHEN, also

 5   known as “Dolphin,” knowingly possessed two machineguns as defined in

 6   Title 18, United States Code, Section 921(a)(23), and Title 26,

 7   United States Code, Section 5845(b), namely two Glock auto sears.

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 1                                     COUNT THREE

 2                               [26 U.S.C. § 5861(d)]

 3        On or about October 23, 2021, in Riverside County, within the

 4   Central District of California, defendant MATTHEW EDWARD CHEN, also

 5   known as “Dolphin,” knowingly possessed a firearm as defined in Title

 6   26, United States Code, Section 5845(a), which had not been

 7   registered to him in the National Firearms Registration and Transfer

 8   Record as required by Chapter 53, Title 26, United States Code,

 9   namely:   a firearm silencer of unknown manufacture, which defendant

10   CHEN knew to be a firearm silencer, as defined in Title 26, United

11   States Code, Section 5845(a)(7), and Title 18, United States Code,

12   Section 921(a)(24).

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 1                                     COUNT FOUR

 2                               [26 U.S.C. § 5861(d)]

 3        On or about January 28, 2022, in Los Angeles County, within the

 4   Central District of California, defendant MATTHEW EDWARD CHEN, also

 5   known as “Dolphin,” knowingly possessed two firearms as defined in

 6   Title 26, United States Code, Section 5845(a), which had not been

 7   registered to him in the National Firearms Registration and Transfer

 8   Record as required by Chapter 53, Title 26, United States Code,

 9   namely:   two firearm silencers of unknown manufacture, which

10   defendant CHEN knew to be firearm silencers, as defined in Title 26,

11   United States Code, Section 5845(a)(7), and Title 18, United States

12   Code, Section 921(a)(24).

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 1                                     COUNT FIVE

 2                               [26 U.S.C. § 5861(i)]

 3        On or about January 28, 2022, in Los Angeles County, within the

 4   Central District of California, defendant MATTHEW EDWARD CHEN, also

 5   known as “Dolphin,” knowingly possessed two firearms, each of which

 6   did not bear a serial number or other information required by Title

 7   26, United States Code, Section 5842, namely:             two firearm silencers

 8   of unknown manufacturer, which defendant CHEN knew to be firearm

 9   silencers, as defined in Title 26, United States Code, Section

10   5845(a)(7), and Title 18, United States Code, Section 921(a)(24).

11                                               A TRUE BILL
12

13
                                                        /S/
                                                 Foreperson
14

15   TRACY L. WILKISON
     United States Attorney
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18   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
19   Chief, National Security Division

20   ANNAMARTINE SALICK
     Assistant United States Attorney
21   Chief, Terrorism and Export
     Crimes Section
22
     REEMA M. EL-AMAMY
23   Assistant United States Attorney
     Terrorism and Export Crimes
24   Section

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